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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF LOUISIANA


MICHAEL SWYMN, VIKING ANIMATION                               )
& CONSULTING, L.L.C.                                          )
                                                              )
               Plaintiff                                      )
                                                              )
v.                                                            ) 2:19-CV-11887-SSV-JVM
                                                              )
DJI TECHNOLOGY INC.                                           )
SZ DJI TECHNOLOGY CO. LTD. &
SHENZEN DAJIANG BAIWANG TECHNOLOGY CO. LTD

               Defendants


      JOINT STIPULATION AND ORDER FOR DISMISSAL WITH PREJUDICE



       The parties to this action, acting through counsel, and pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii) hereby stipulate, in consideration of a negotiated settlement executed by

them, to the Dismissal With Prejudice of this action, including all claims and counterclaims stated

herein against all parties, with each party to bear its own attorney’s fees and costs.

       In addition, the Court specifically retains jurisdiction to enforce the settlement

agreement if settlement is not consummated within sixty days. See Fed. R. Civ. P.

41(a)(2); Kokkonen v.Guardian Life Ins. Co. of Am., 511 U.S. 375, 381-82 (1994); Hospitality

House, Inc. v.Gilbert, 298 F.3d 424, 430 (5th Cir. 2002).


S/ Ryan J Williams_____________________                               Dated: March 16th, 2020
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Bar No. 38442


GAUDRY, RANSON, HIGGINS
& GREMILLION, L.L.C.

 /s/ Gino R. Forte_________________________                           Dated: March 16th, 2020
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                                             ORDER


        The stipulation is approved. The entire action, including all claims and counterclaims
stated herein against all parties, is hereby dismissed with prejudice.


Dated: March 1_th, 2020
                                                   _____________________________________
                                                    HONORABLE JUDGE SARAH S. VANCE
